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                                                                                                    Letter

From:              Dennis Chong Kee <dchongkee@cades.com>
To:                'Bill Plum' <wplum@plumlaw.com>, "seabright_orders@hid.uscourts.gov"
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Cc:                Bob Eheler <rdelawoffice@gmail.com>, "JRRHNL@aol.com" <JRRHNL@aol.com>, Larry Ecoff
                   <ecoff@ecofflaw.com>, "thomasdyano@gmail.com" <thomasdyano@gmail.com>,
                   "pschell@alf-hawaii.com" <pschell@alf-hawaii.com>, "Wayne Nasser Esq. (wnasser@awlaw.com)"
                   <wnasser@awlaw.com>, Charles Price <cprice@koshibalaw.com>, Audrey Kawamura
                   <akawamura@cades.com>
Date:              02/12/2018 07:29 PM
Subject:           RE: Atooi Aloha LLC vs Abner Gaurino, et. al., Civil No. 16-00347 JMS-RLP



Dear Judge Seabright ‐

The purpose of this email is to provide the Court with the substance of the comments that I provided to
Mr. Plum. I explained to Mr. Plum last Friday that I would compare his proposed form of order to a form
of order that my office recently received back (with court comments) from Judge Castagnetti who is the
State Circuit Court Judge assigned to foreclosure matters. Based on this review and comparison, as well
as consideration of other experiences my office has encountered in State Court foreclosure matters, I
offered the following comments and suggestions to Mr. Plum:

           “First, if there are any assignment documents recorded in the Bureau of Conveyances, it would
           make sense to make reference to them at the end of paragraph 4.

           Second, it is our understanding that the State Courts typically insist on a provision in the order
           addressing when a notice of default was provided to the borrower. Thus, it make sense to add
           such a provision.”

I offer the following comments for the Court’s consideration to incorporate in the proposed order as the
Court deems appropriate.

Thank you.

Dennis W. Chong Kee
Partner

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From: Bill Plum [mailto:wplum@plumlaw.com]
Sent: Monday, February 12, 2018 4:23 PM
To: seabright_orders@hid.uscourts.gov
Cc: Bob Eheler; JRRHNL@aol.com; Dennis Chong Kee; Larry Ecoff; thomasdyano@gmail.com;
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                                   2124


pschell@alf-hawaii.com; Wayne Nasser Esq. (wnasser@awlaw.com); Charles Price
Subject: Atooi Aloha LLC vs Abner Gaurino, et. al., Civil No. 16-00347 JMS-RLP

Dear Judge Seabright

Attached are three files in a PDF format. One file contains a document that I have entitled Further
Findings of Fact, Conclusions of Law and Order Granting Defendant Apt‐320, LLC’s Motion for Summary
Judgment And For Interlocutory Decree of Foreclosure; Exhibit A (“Order”). That document has been
drafted on behalf of my client, Apt‐320, LLC, and is a proposed version consistent with the type of
document typically filed in a state court foreclosure action after the court grants a mortgagee’s motion
for summary judgment and is looking to appoint a commissioner. The second file contains the proposed
Exhibit A, and the third file contains a CV for Thomas J. Wong (Apt‐320, LLC’s suggestion for the position
of commissioner).

With regards to the attached files, I can report the following:

Counsel for Cristeta Owen takes no position on the proposed Order and no objections to Mr. Wong.

Counsel for Fidelity National Title & Escrow and Rommel Guzman has no objection to the form of the
proposed Order and no objections to Mr. Wong.

Counsel for the Apartment Owners of Diamond Head Sands has no objection to the form of the
proposed Order and no objections to Mr. Wong.

Counsel for Plaintiffs had two “comments/suggestions” to the proposed Order, but since they were
received this afternoon, there was not sufficient time to evaluate the comments/suggestions and if
accepted, to re‐circulate the Order for approval among the parties, and still make today’s deadline for
submittal of the proposed Order to this court. Counsel for Plaintiffs had no objections to Mr. Wong.

Counsel for the Gaurinos exchanged emails with me and had a phone call with me about the form of the
Order, however I did not receive confirmation regarding approval of the Order. No confirmation
regarding the approval of Mr. Wong was received.

Lastly, I was instructed to send submittals to the court via a PDF format. I can provide WordPefect or
Word formats of the Order if requested.

Thank you.

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